     Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 1 of 10 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


U.S. EQUAL EMPLOYMENT                    )
OPPORTUNITY COMMISSION,                  )
                                         )
                  Plaintiff,             ) Civil Action No. 1:20-cv-00745
                                         )
            v.                           ) COMPLAINT
                                         ) AND JURY TRIAL DEMAND
PROFESSIONAL TRANSPORTATION,             )
INC.,                                    )
                                         )
                  Defendant.             )
________________________________________ )


                                  NATURE OF THE ACTION

       This is an action under Title I of the Americans with Disabilities Act of 1990, as amended

(“ADA”), and Title I of the Civil Rights Act of 1991, to correct unlawful employment practices

on the basis of disability and to provide appropriate relief to Charging Party Rachael Hagy. As

alleged with greater particularity in Paragraphs 14 through 39 below, Defendant Professional

Transportation, Inc. (“Defendant”) subjected Ms. Hagy to unlawful discrimination on the basis of

her actual disability, record of disability, and because she was regarded as disabled; and Defendant

used qualification standards that screened out and tend to screen out individuals with disabilities

in violation of the ADA.

                                 JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343

and 1345. This action is authorized and instituted pursuant to Section 107(a) of the Americans

with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12117(a), which incorporates by reference

Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.§
      Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 2 of 10 PageID #: 2




2000e-5(f)(1) and (3), and pursuant to Section 102 of the Civil Rights Act of 1991, 42 U.S.C.

§ 1981a.

         2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Southern District of West Virginia and other

jurisdictions.

                                               PARTIES

         3.      Plaintiff,   the    U.S.   Equal   Employment    Opportunity    Commission      (the

“Commission”), is the agency of the United States of America charged with the administration,

interpretation and enforcement of Title I of the ADA and is expressly authorized to bring this

action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

         4.      At all relevant times, Defendant, an Indiana corporation, has continuously been

doing business in the State of West Virginia and the City of Bluefield and has continuously had at

least 15 employees.

         5.      During each and every calendar week in calendar years 2018, 2019 and 2020,

Defendant has continuously employed more than 500 employees.

         6.      At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under Sections 101(5) and 101(7) of the ADA, 42 U.S.C.§§ 12111(5)

& (7).

         7.      At all relevant times, Defendant has been a covered entity under Section 101(2) of

the ADA, 42 U.S.C. § 12111(2).

                                    ADMINISTRATIVE PROCEDURES

         8.      More than thirty days prior to the institution of this lawsuit, Rachael Hagy filed a




                                                    2
     Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 3 of 10 PageID #: 3




charge with the Commission alleging violations of the ADA by Defendant.

       9.       On January 24, 2020, the Commission issued to Defendant a Determination finding

reasonable cause to believe that Defendant violated the ADA and inviting Defendant to join with

the Commission in informal methods of conciliation to endeavor to eliminate the unlawful

employment practices and provide appropriate relief.

       10.      The Commission engaged in communications with Defendant to provide Defendant

the opportunity to remedy the discriminatory practices described in the Determination.

       11.      The Commission was unable to secure from Defendant a conciliation agreement

acceptable to the Commission.

       12.      On February 21, 2020, the Commission issued to Defendant a Notice of Failure of

Conciliation.

       13.      All conditions precedent to the initiation of this lawsuit have been fulfilled.

                                    STATEMENT OF CLAIMS

       14.      Since at least February 25, 2019, Defendant has engaged in unlawful employment

practices at its facility in Bluefield, West Virginia and other locations in violation of Sections

102(a), 102(b)(1) and 102(b)(6) of Title I of the ADA, 42 U.S.C. §§12112(a), 12112(b)(1) &

12112(b)(6), that adversely affected Rachael Hagy. Specifically, Defendant failed to hire Ms.

Hagy because of her actual disability, record of disability, or because she was regarded as disabled;

and used qualification standards that screened out or tended to screen out individuals with

disabilities such as Ms. Hagy.

                   Count I: Discrimination on the Basis of Disability Prohibited
                            by 42 U.S.C. §§ 12112(a) and 12112(b)(1)

       15.      At all relevant times, Rachael Hagy was a person with a disability under Section

3(1)(A), (B) and (C) of the ADA, 42 U.S.C. § 12102(1)(A), (B) & (C). At the time of her



                                                  3
     Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 4 of 10 PageID #: 4




application for employment with Defendant, Ms. Hagy had a physical impairment and a record of

that impairment, opioid addiction, that substantially limited one or more major life activities, and

Defendant regarded Ms. Hagy as having a disability by disqualifying her and denying her hire

because of her non-transitory and non-minor impairment, opioid addiction, and related medical

treatment.

       16.     At all relevant times, and as a consequence of, and as medical treatment for, her

opioid addiction disability, Ms. Hagy has received prescribed Suboxone treatment.

       17.     Ms. Hagy applied for a Van Driver position at Defendant’s Bluefield, West Virginia

branch prior to February 25, 2019. Thereafter, she received a notification of an open interview

event to be conducted by Defendant at a hotel meeting facility located in Princeton, West Virginia.

       18.     On or about February 25, 2019, Ms. Hagy attended Defendant’s open interview

event in Princeton, West Virginia.

       19.     After speaking with Defendant’s managerial personnel at the open interview event,

and while Ms. Hagy was still present at the event, Defendant extended to her a conditional offer

of employment as a Van Driver.

       20.     After Defendant made the conditional offer of Van Driver employment to Ms.

Hagy, Defendant’s managerial personnel, Bluefield Branch Manager Sherri Linkous, informed

Ms. Hagy of the next steps in the hiring process, one of which was a drug test.

       21.     Upon being informed of the need to complete a drug test, Ms. Hagy voluntarily

disclosed to Linkous that she was receiving Suboxone medication and asked whether that would

cause any problem with the drug test.

       22.     In response to Ms. Hagy’s disclosure that she was taking Suboxone, Linkous stated

that she would need to speak with someone at the company about the Suboxone and would make




                                                 4
      Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 5 of 10 PageID #: 5




a phone call. Ms. Hagy then assured Linkous that Suboxone did not affect her driving ability.

        23.      Immediately thereafter, Linkous left the room and called Defendant’s Human

Resources Director Steven Greulich. After review of manufacturer’s information concerning

potential side effects of Suboxone, Greulich decided to disqualify Ms. Hagy from the Van Driver

position because of her Suboxone use.

        24.     Defendant did not request any medical information from Ms. Hagy or her health

care provider concerning her Suboxone treatment, whether she experienced side effects, whether

she was safe to perform the essential job functions of the Van Driver position, or any other facts

concerning her disability. At all relevant times, Ms. Hagy has not experienced side effects from

Suboxone treatment.

        25.     Greulich directed Linkous to inform Ms. Hagy that she was not qualified for the

Van Driver position because of her Suboxone use.

        26.     When Linkous returned from placing the call to Greulich, she told Ms. Hagy that

she (Hagy) would not be hired because she was unqualified due to her Suboxone use, and Linkous

made a statement to the following effect: “The job is driving for the railroad and the railroad had

problems in the past with people on methadone and would not want anyone on anything driving

for the railroad.”

        27.     At that time, Linkous also told Ms. Hagy that she would continue trying to get Hagy

hired to work for Defendant, and she gave Hagy her name and cell phone number to check-in.

        28.     After February 25, 2019, Ms. Hagy made several attempts to contact Linkous via

calls and text message in order to determine if Defendant had changed its decision to disqualify

her because of her Suboxone treatment and was willing to offer her employment.

        29.     Defendant never hired Ms. Hagy, nor did it ever change its decision and extend




                                                 5
      Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 6 of 10 PageID #: 6




another offer of employment to her after disqualifying her for Suboxone use on February 25, 2019.

        30.     Defendant refused to hire Ms. Hagy for the Van Driver position because she was

taking Suboxone without consideration of whether the medication actually affected her ability to

safely perform the essential functions of the position.

        31.     Defendant disqualified Hagy and refused to hire her as a Van Driver because she

was receiving medication treatment for opioid addiction.

        32.     Defendant refused to hire Ms. Hagy because of her actual disability and record of

a disability, opioid addiction, and because she was regarded as disabled in violation of Sections

102(a) and 102(b)(1) of the ADA, 42 U.S.C. §§ 12112(a) & 12112(b)(1).

                   Count II: Discrimination on the Basis of Disability Prohibited
                             by 42 U.S.C. §§ 12112(a) and 12112(b)(6)

        33.     The Commission incorporates by reference the factual allegations set forth in

Paragraphs 14 through 32, above.

        34.     Since at least February 25, 2019, Defendant has maintained and applied a

qualification standard that barred Ms. Hagy from working in a driving position because she was

taking prescribed medication for opioid addiction treatment, Suboxone, regardless of whether the

medication had any effect on Ms. Hagy’s ability to safely perform the essential functions of the

job at issue.

        35.     Defendant’s qualification standard excluding persons receiving Suboxone

treatment from working in driving positions screened out Ms. Hagy of the basis of her disability

and tends to screen out other qualified individuals with disabilities from employment as drivers on

the basis of their disabilities, opioid addiction.

        36.     Defendant refused to hire Ms. Hagy on the basis of actual disability or record of a

disability, opioid addiction, and on the basis of being regarded as disabled in violation of Sections



                                                     6
     Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 7 of 10 PageID #: 7




102(a) and 102(b)(6) of the ADA, 42 U.S.C. §§ 12112(a) & 12112(b)(6).

       37.      The effect of the practices complained of in Paragraphs 14 through 36 above has

been to deprive Rachael Hagy of equal employment opportunities and otherwise adversely affect

her ability to become an employee or be hired into specific jobs on the basis of her disability.

       38.      The unlawful employment practices complained of in Paragraphs 14 through 36

above were intentional.

       39.      The unlawful employment practices complained of in Paragraphs 14 through 36

above were done with malice or with reckless indifference to the federally protected rights of

Rachael Hagy.

                                     PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.       Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all persons in active concert or participation with it, from engaging in

discrimination by refusing to hire individuals with disabilities, and from maintaining or

implementing qualification standards that screen out or have a tendency to screen out individuals

with disabilities, including but not limited to an injunction prohibiting Defendant from refusing to

hire, screening out, or otherwise excluding job applicants and employees from driver positions

because they are receiving Suboxone or similar medication-assisted treatment for drug addiction

unless such individuals pose a direct threat in the positions at issue that cannot be eliminated or

reduced to an acceptable level through reasonable accommodation.

       B.       Order Defendant to institute and carry out policies, practices, and programs which

provide equal employment opportunities for individuals with disabilities, and which eradicate the

effects of its past and present unlawful employment practices, including but not limited to an




                                                 7
         Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 8 of 10 PageID #: 8




injunction mandating procedures and employee training regarding direct threat/safety analysis of

job applicants and employees that comport with ADA requirements, such as individualized

assessment and use of the best available medical and other objective evidence.

          C.    Order Defendant to make whole Rachael Hagy by providing appropriate backpay

with prejudgment interest, in amounts to be determined at trial, and other affirmative relief

necessary to eradicate the effects of their unlawful employment practices, including but not limited

to instatement or reinstatement and front pay.

          D.    Order Defendant to make whole Rachael Hagy by providing compensation for past

and future pecuniary losses resulting from the unlawful employment practices described in

Paragraphs 14 through 36 above, in amounts to be determined at trial.

          E.    Order Defendant to make whole Rachael Hagy by providing compensation for past

and future nonpecuniary losses resulting from the unlawful practices complained of in Paragraphs

14 through 36 above, including but not limited to emotional pain, suffering, inconvenience, loss

of enjoyment of life, and humiliation, in amounts to be determined at trial.

          F.    Order Defendant to pay to Rachael Hagy punitive damages for malicious and

reckless conduct, as described in Paragraphs 14 through 36 above, in amounts to be determined at

trial.

          G.    Grant such further relief as the Court deems necessary and proper in the public

interest.

          H.    Award the Commission its costs of this action.




                                                 8
Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 9 of 10 PageID #: 9
Case 1:20-cv-00745 Document 1 Filed 11/12/20 Page 10 of 10 PageID #: 10




                                       MICHAEL B. STUART
                                       UNITED STATES ATTORNEY

                                BY:    s/ Jason S. Bailey
                                       JASON S. BAILEY
                                       ASSISTANT UNITED STATES ATTORNEY
                                       WV State Bar No. 13582
                                       United States Attorney’s Office
                                       300 Virginia Street East, Suite 4000
                                       Charleston, WV 25301
                                       P: 304-345-2200
                                       F: 304-347-5443
                                       E: jason.bailey2@usdoj.gov

                                       Counsel for United States of America




                                  10
